Case 1:19-cr-00184-JAW

Document 30 Filed 10/09/19 Pagelof2 PagelD #: 53

VAS-oF OOK Saw)

Synopsis ener FIVE t} |

 

 

 

 

 

 

 

(Indictment)
mig OCT -G P 299
Name: Praneeth Manubolu —
Address: Edgewater, NJ
_(City & State Only)

Year of Birth and Age: 1991/28

Violations: Counts 1-3: Manslaughter, 18 U.S.C. §1112(a) (Class D
Felony).
Counts 4 and 5: OUI, 36 C.F.R. §4.23(a)(1) and
(2)(Class B Misdemeanors).
Count 6: Unsafe Operation, 36, C.F.R.
§4.22(b)(1)(Class B Misdemeanor).

Penalties: Counts 1-3: Imprisonment of not more than 8 years, a

fine of $250,000, or both. 18 U.S.C. §1112(b).

Counts 4-6: Imprisonment of not more than 6 months,
$250,000, or both. 36 C.F.R. §1.3(a); 18 U.S.C.
§3571(a)(4); a term of probation of not more than 5
years. 18 U.S.C.§3561(c)(2).

 

Supervised Release:

Counts 1-3: Not more than three years. 18 U.S.C. :
§3583(b)(2).
Counts 4-6: N/A.

 

Maximum Term of Imprisonment for
Violation of Supervised Release:

Counts 1-3: Not more than two years, 18 U.S.C.
3583(e)(3).
Counts 4 -6: N/A.

 

 

Maximum Add’! Term of Supervised
Release for Violation of Supervised
Release:

Counts 1-3: Not more than three years, less any term of |
imprisonment. 18 U.S.C. §3583(h).
Counts 4-6: N/A.

 

Defendant’s Attorney:

Walter McKee

 

 

Primary Investigative Agency and Case
Agent Name:

U.S. Park Rangers, Brian Dominy

 

Detention Status:

On federal bail

 

 

 

 

 

Foreign National: Yes
Foreign Consular Notification Provided: | Yes
County: Hancock

 

 

 
Case 1:19-cr-00184-JAW Document 30 Filed 10/09/19 Page2of2 PagelD #: 54

 

 

 

AUSA: Raphaelle A. Silver and M. Andrew McCormack
Guidelines apply? Y/N - Yes
Victim Case: Yes

 

Corporate Victims Owed Restitution? N/A
Y/N

 

 

Assessments: Counts 1-3: $100.00
Counts 4-6: $10.00

 

 

 
